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                                    No. 23-2165
        __________________________________________________________________

                  IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT


                 MR. DEE’S INC., on behalf of themselves and all others
               similarly situated, RETAIL MARKETING SERVICES, INC., AND
               CONNECTICUT FOOD ASSOCIATION, on behalf of themselves
                            and all others similarly situated,

                                                     Plaintiffs-Appellants,
                                             v.

              INMAR, INC., CAROLINA MANUFACTURER’S SERVICES, CAROLINA
                   SERVICES, AND CAROLINA COUPON CLEARING, INC.,

                                                     Defendants-Appellees.

                    On Appeal from the United States District Court
                       for the Middle District of North Carolina
                              No. 1:19-CV-00141-WO-LPA
                              Hon. William L. Osteen, Jr.


                               Appellants’ Opening Brief


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                                   INTRODUCTION

              This is an antitrust class action arising from a written anti-

        competitive conspiracy between two main competitors in the coupon

        processing industry: International Outsourcing Services (“IOS”); and

        Defendants-Appellees Inmar Inc. and its coupon processing subsidiaries

        (collectively, “Inmar”). Plaintiffs-Appellants Mr. Dee’s Inc. et al. (“Mr.

        Dee’s”) have presented compelling evidence of an antitrust violation.

        That evidence includes sworn admissions by IOS’s CEO—who devised

        the conspiracy—that the conspirators entered into “non-competes” for the

        purpose of “head[ing] off a price war” and “allow[ing] us to escalate our

        freight revenue,” and that, as intended, the conspiracy increased the

        conspirators’ market power and allowed them to “dramatically” increase

        coupon processing shipping fees paid by manufacturers and retailers.

        The conspiracy remained in effect from 2001 to 2007, when IOS’s CEO

        was indicted for fraud along with other IOS executives. The district court

        denied Inmar’s summary judgment motion on Mr. Dee’s only claim: that

        Inmar allocated customers and markets and fixed prices in violation of

        Sherman Act § 1. Dkt. 271 at 32-33.




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              Mr. Dee’s appeals the district court’s incorrect denial of certification

        of the proposed manufacturer class, and two manufacturer classes

        proposed by Mr. Dee’s in the alternative that addressed concerns raised

        by the district court. The district court only granted certification of a

        retailer class that suffered a fraction of the harm of manufacturers.

              The district court primarily erred because it construed Mr. Dee’s

        proposed class of 5,280 listed manufacturers (“Fixed-List Class”) as an

        impermissible “fail-safe” class. In fact, the Fixed-List Class was the

        opposite of a “fail-safe” class, because class membership was fixed and

        already identified. Moreover, the district court erred in imposing a

        standalone fail-safe prohibition when the Fixed-List Class satisfied Rule

        23’s explicit requirements. Its denial of certification of the Fixed-List

        Class should be reversed.

              Alternatively, one of the other two proposed manufacturer classes

        should be certified.

              Mr. Dee’s second proposed class consists of manufacturers that met

        minimum purchase requirements (“Minimum-Purchase Class”). Class

        members were specifically identified based on objective criteria.

        Nonetheless, the district court rejected this class as “unascertainable” on



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        the grounds that some injured class members were arbitrarily excluded

        (making the class definition underinclusive), and because a minimum-

        purchase requirement was not connected to the harm alleged. The

        district court erred in applying such requirements, which this Court has

        never recognized. Even if those were legitimate requirements of

        ascertainability,   the   Minimum-Purchase          Class       satisfies   such

        requirements, because the purchase requirements limit the class to those

        with greater exposure to the conspiracy, sufficiently tying the class to the

        harm.

              At the district court’s request, Mr. Dee’s proposed a third class

        consisting of all manufacturer purchasers (“All-Payer Class”). The

        district court then rejected the All-Payer Class as overinclusive, and

        declined certification based on its finding that the class included 2,533

        uninjured class members. This finding was contrary to the evidence, and

        the district court erred in weighing the persuasiveness of merits evidence

        in deciding class certification. Even if many class members might

        ultimately be found to be uninjured, they easily could be winnowed out,

        such that their inclusion should not defeat predominance.




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              By declining to certify any class of manufacturers, the district court

        applied improper legal standards inconsistent with both the letter and

        the purpose of Rule 23, effectively denying recourse to the group of

        victims whom the conspirators’ conduct most harmed. This Court should

        correct those errors, ensure the proper standard is applied, and allow

        manufacturers to pursue appropriate class-wide relief.

                              QUESTIONS PRESENTED

              1.   Did the district court err in rejecting a fixed list of class

        members as fail-safe where inclusion on the list was not based on

        liability, but whether they can rely on the same common evidence, and

        where class members will be bound by the outcome regardless of any

        determination on the merits at trial?

              2.   Did the district court err in rejecting a minimum-purchase

        class as unascertainable where Mr. Dee’s expert has already identified

        every proposed class member?

              3.   Did the district court err in rejecting a class of all

        manufacturer payers because of uninjured class members where Mr.

        Dee’s offers common evidence of classwide injury, persuasiveness of




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        evidence is a merits question for the jury, and any uninjured members

        can be winnowed out without individual inquiries?

                          STATEMENT OF JURISDICTION

              The district court has subject matter jurisdiction pursuant to 28

        U.S.C. § 1331 and 28 U.S.C. § 1337(a) because Mr. Dee’s asserts an

        antitrust claim under 15 U.S.C. § 15 for a violation of 15 U.S.C. § 1.

              This Court granted Mr. Dee’s Rule 23(f) Petition on November 6,

        2023. JA2119. This Court has appellate jurisdiction pursuant to 28

        U.S.C. § 1292(e) and Fed. R. Civ. P. 23(f).

                                  STATEMENT OF FACTS

              Mr. Dee’s alleges that Inmar entered into a per se unlawful anti-

        competitive conspiracy with its main competitor, IOS, that resulted in

        overcharges in coupon-processing shipping fees to manufacturers and

        retailers.

              Grocery stores and other retailers collect coupons redeemed at their

        stores by consumers and send them to retailer coupon processors.

        Retailer coupon processors sort and count the coupons, and send

        manufacturer processors the coupons and invoices for coupon values and

        processing fees, including shipping fees (also known as “freight fees”).



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        “Shipping fee” is a misnomer, as it is “a market level fee” no longer tied

        to the physical movement of coupons. JA1001. Manufacturer processors

        audit coupons for accuracy and pass on invoices to manufacturers,

        including   the     shipping    fees   imposed      by    retailer   processors.

        Manufacturers then remit payment for the coupon value and fees. Many

        manufacturers simply pay shipping fees, but some manufacturers

        “charge back” these fees to retailers. Retailer processors keep the

        shipping fees paid by manufacturers and often seek payment from their

        retailer clients for any shipping fees unpaid by manufacturers.

              IOS and Inmar competed intensely as both retail and manufacturer

        processors. In 2000, IOS’s CEO Chris Balsiger “threaten[ed] a price war”

        with Inmar if Inmar didn’t discontinue certain business practices that

        reduced IOS’s market share. JA1478. Balsiger subsequently “c[a]me up

        with [the] idea” to enter an agreement with Inmar. JA1471. He testified:

        “I call[ed] my arch-competitor.... And I proposed a joint venture to

        [Inmar].... And that was to head off a price war on coupons and ... allow

        us to escalate our freight revenue... [and] allowed us to protect certain

        accounts. It created noncompetes by doing deals back and forth[.]”

        JA1471-1472. The conspirators then “construct[ed]” agreements to



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        provide a veneer of legitimacy for their anticompetitive conspiracy.

        JA1517.

              In 2001, Inmar and IOS entered into a series of secret inter-related

        written non-compete agreements, along with “oral agreements” they

        elected not to commit to writing. JA1554-1639. The parties subsequently

        stopped competing for all customers, not just those subject to the written

        non-competes, JA1646-1647, JA1651, and IOS exited the manufacturer

        market. JA1472. Balsiger testified to the anticompetitive effect: “Once we

        did the joint venture the combined market share ... gave us 87 percent

        control of the market.... I increased my fees once we had that control, and

        I had a noncompete, I increased my fees dramatically.” JA1477, JA1417.

              IOS’s primary strategic goal became to “[i]ncrease fees (i.e.,

        chargeback fees, freight fees).” JA1460, JA1663. Similarly, Inmar’s

        pricing strategy included “higher fees billed to manufacturers with

        increases in S[hipping]&H[andling].” JA1666. Inmar followed IOS’s lead

        on shipping fees. JA1683. When customers complained, “it wasn’t an

        issue” because “there was no place for these accounts to go” because of

        the non-competes. JA1479.




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              The conspiracy continued until 2007, when IOS and several IOS

        executives were indicted for fraud and the conspirators terminated

        noncompete portions of their agreements. JA1705-1708. This case, which

        was filed in 2008, was stayed from 2008 until 2018 pending resolution of

        the criminal case. Dkts. 72, 107. IOS CEO Balsiger was convicted.

              Mr. Dee’s originally moved for certification on June 30, 2020, of

        manufacturer and retailer classes of direct purchasers of coupon

        processing services during the class period. Dkt. 151 at 10-11.

              Subsequently, Mr. Dee’s learned through discovery that Inmar had

        withheld transactional data that was critical to analyzing impact and

        damages. Dkt. 167 at 12-13. The district court granted a motion to compel

        production, finding that Inmar “did not properly respond to [plaintiffs’

        document] Request.” Dkt. 187 at 28. After the data was produced, Mr.

        Dee’s economic expert, Dr. Grace, conducted regression analyses of

        Inmar’s transactional data, controlling for volume and other non-

        conspiratorial factors. JA1718-1725. She determined that, after the

        conspiracy began, shipping fees increased significantly, including as

        compared to non-conspirator NCH, which she used as a benchmark:




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        JA1714. Despite making conservative assumptions, her regression found

        observable injury for most purchasers. JA1719-1726, JA2089-2090

        (citing Dkt. 277-25 at App’x A); JA1869-1917. Because increased volume

        led to lower prices, the regression could not observe harm for

        manufacturers that significantly increased their volume during the

        conspiracy period (compared to the pre-conspiracy period), but this did

        “not [mean] that those [manufacturers] weren’t harmed.” JA2014. In

        Appendix A of her Supplemental Report (“Appendix A”), Dr. Grace

        identified manufacturers for which her regression was able to observe

        price increases. JA1728-1828.




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              Based on Dr. Grace’s new analysis, Mr. Dee’s filed a supplemental

        brief in support of class certification, proposing a new class definition:

        “manufacturers listed in ‘Appendix A,’ … which are those that paid

        observably higher CCC or IOS shipping fees during the conspiracy

        period.” Dkt. 193 at 4.

              The new class definition mooted some of the original briefing. The

        district court therefore denied the original certification motion without

        prejudice and ordered the parties to re-brief the issues around the new

        class definition. JA0981.

              Mr. Dee’s filed a second certification motion on October 12, 2021.

        JA1259-1252. Mr. Dee’s defined the proposed manufacturer class in its

        brief as “[m]anufacturers listed in Appendix A[] … , which are those that

        directly paid observably higher CCC or IOS shipping fees during the

        conspiracy period.” Dkt. 255 at 8. In the cover motion summarizing the

        brief, Mr. Dee’s explained that it sought to certify a class of

        “manufacturers that directly paid observably higher CCC or IOS

        shipping fees during the class period … identified on the list attached.”

        JA1249. Mr. Dee’s explained that class membership is “[f]ixed” and




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        includes listed manufacturers “regardless of the merits outcome.” Dkt.

        262 at 1-2.

              Focusing on the description of the class in the cover motion, the

        district court found the class impermissibly “fail-safe,” “because class

        membership is conditioned on having suffered antitrust injury or impact

        in the form of increased shipping fees.” JA1447 (citing Dkt. 254). The

        court expressed that “the problem with fail-safe classes ‘often should be

        solved by refining the class definition rather than by flatly denying class

        certification on that basis.’” JA1449 (quoting Messner v. Northshore Univ.

        HealthSystem, 669 F.3d 802, 825 (7th Cir. 2012)). Rather than refining

        the proposed class definition, or considering the definition proposed or

        described in Mr. Dee’s briefing (rather than the cover motion), the court

        denied the motion without prejudice, inviting a renewed certification

        motion. JA1449.

              Mr. Dee’s filed a third round of certification briefing proposing two

        different manufacturer-class definitions: (1) “manufacturers listed in [Dr.

        Grace’s] App[endix] A” (“Fixed-List Class”), JA2097 (citing Dkt. 287 at

        18); and (2) manufacturers that made specified minimum purchases of

        shipping fees (where greater purchases increased the likelihood of



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        suffering an antitrust injury, such that there were only a de minimis

        number of potentially uninjured class members) (“Minimum-Purchase

        Class”). Dkt. 277 at 9.

                At the district court’s request (JA2032-2033), the parties

        subsequently briefed the feasibility of a third proposed manufacturer

        class definition: all manufacturer payers, without any minimum

        purchase requirements (“All-Payer Class”). Dkts. 298, 303.

                The district court certified a class composed of all 323 retailer

        payers, but denied certification of the three proposed manufacturer

        classes, each of which contained thousands of manufacturers and most of

        the damages. JA2117. The Court rejected the Fixed-List Class as an

        “‘impermissible fail-safe class[],’” even though membership was fixed,

        because “Plaintiffs generated the list[] of manufacturers … from Dr.

        Grace’s regressions which sought to determine which manufacturers …

        ‘paid observably higher shipping fees.’” JA2097 (quoting Dkts. 257-25,

        275).

                The     Court   rejected   the     Minimum-Purchase      Class   as

        “unascertainable,” even though every member had been identified,

        because the definition “arbitrarily exclude[d] some injured parties,” and



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        because there was purportedly “no connection between Defendants’

        allegedly impermissible activities and the classes Plaintiffs seek to

        certify.” JA2074-2075.

              Finally, the Court rejected the All-Payer Class based on its

        determination that 2,533 class members were uninjured, and because it

        assumed that individualized issues would therefore predominate.

        JA2089-2098.

              Mr. Dee’s timely filed a Rule 23(f) petition on September 6, 2023,

        and the petition was granted on November 6, 2023. JA2199.

                          SUMMARY OF THE ARGUMENT

              The district court abused its discretion in denying certification of

        each of the three proposed manufacturer classes.

              1.   Mr. Dee’s proposed a Fixed-List Class consisting of 5,280

        specifically identified manufacturers. The district court rejected the class

        as “fail-safe.” In a fail-safe class, however, membership is contingent on

        liability, such that a potential member is excluded from the class if they

        lose on the merits. In re White, 64 F.4th 302, 303 (D.C. Cir. 2023). The

        Fixed-List Class does not fit this definition, because membership is

        immutable and not contingent on liability or any other finding.



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              Mr. Dee’s appropriately created the Fixed-List Class by including

        only manufacturers that will rely on the same common evidence—that is,

        damage calculations in Dr. Grace’s regression. See Olean Wholesale

        Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 669 n.14 (9th

        Cir. 2022) (“the court may redefine [an] overbroad class to include only

        those members who can rely on the same body of common evidence to

        establish the common issue”) (emphasis added).

              The district court erred in imposing a stand-alone, extra-textual

        prohibition on fail-safe classes rather than applying the carefully

        structured requirements of Rule 23. White, 64 F.4th at 313. The Fixed-

        List Class satisfies Rule 23, including ascertainability, because class

        members have already been identified.

              2.   The district court rejected the Minimum-Purchase Class

        definition as not “ascertainable,” but this was erroneous because class

        members have already been identified—ascertained—based on objective

        criteria. In rejecting the class, the district court applied inappropriate

        “ascertainability” requirements that have never been recognized by this

        Court. Specifically, the lower court required the minimum-purchase

        restrictions to be sufficiently “connect[ed]” to Inmar’s “impermissible



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        activities,” and would preclude “arbitrary[]” exclusion of injured

        purchasers. JA2074. Even if such requirements were appropriate, the

        proposed   Minimum-Purchase         Class    satisfies   them,   because   the

        minimum-purchase restrictions limit the class to those with greater

        exposure to the conspiracy and are therefore not arbitrary.

              3.   The district court rejected the All-Payer Class as including too

        many uninjured class members. The court found that 2,533 class

        members were uninjured, but the evidence does not support this finding.

        Mr. Dee’s presented common evidence that all class members were

        harmed, and it was inappropriate for the district court to weigh the

        evidence and rule on its persuasiveness on the merits.

              The district court further erred in applying a per se rule,

        independent of Rule 23’s requirements, precluding certification of classes

        with too many uninjured members. Olean, 31 F.4th at 669 & n.13

        (rejecting “a per se rule that a class cannot be certified if it includes more

        than a de minimis number of uninjured class members” as “inconsistent

        with Rule 23(b)(3)”). The All-Payer Class satisfies Rule 23, including the

        predominance requirement, where injury will be determined using




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        common evidence, and where any uninjured members can easily be

        winnowed out without individual inquiry.

              4.   Alternatively, rather than denying certification of any

        manufacturer class, the Court should redefine the class to avoid any fail-

        safe, overbreadth, or similar issues. EQT Production Co. v. Adair, 764

        F.3d 347, 360 n.9 (4th Cir. 2014).

                                  STANDARD OF REVIEW

              This Court “typically review[s] a district court’s certification order

        for abuse of discretion.” Brown v. Nucor Corp., 785 F.3d 895, 901 (4th Cir.

        2015). “A material error of law is always an abuse of discretion.” White,

        64 F.4th at 312 (citing Koon v. United States, 518 U.S. 81, 100 (1996)).

        For example, “[w]hen a court misapprehends or fails to apply the law

        with respect to underlying issues, it abuses its discretion.” Gunnells v.

        Healthplan Servs., Inc., 348 F.3d 417, 446 (4th Cir. 2003). A district court

        also abuses its discretion “when it materially misapplies the

        requirements of Rule 23.” Brown, 785 F.3d at 902. Thus, in White, the

        D.C. Circuit found an abuse of discretion where the district court denied

        certification “based on a stand-alone and extra-textual rule against ‘fail-

        safe’ classes, rather than applying [Rule] 23(a).” 64 F.4th at 313.



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              Finally, a district court abuses its discretion when it either decides

        certification based on its assessment of the merits rather than Rule 23’s

        requirements, Redditt v. Miss. Extended Care Ctrs., Inc., 718 F.2d 1381,

        1388 (5th Cir. 1983), or when it “clearly errs in its factual findings.”

        Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 317 (4th Cir. 2006).

                                      ARGUMENT

              Instead of properly applying Rule 23’s requirements, the district

        court applied extra-textual fail-safe and uninjured class member

        requirements that have never been recognized by this Court, applied

        expanded ascertainability requirements that have never been recognized

        by this Court, misapplied the requirements, improperly weighed

        evidence on the merits, and made erroneous findings.

              Each of the three proposed classes satisfies the requirements for

        class certification where: (1) the Fixed-List Class is not impermissibly

        fail-safe; (2) the Minimum-Purchase Class is readily ascertainable; and

        (3) the All-Payer Class will rely on common evidence of class-wide injury.

        Alternatively, the class should be redefined to satisfy the relevant

        criteria.




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        I.    The Fixed-List Class Is Not Impermissibly “Fail-Safe.”

              The district court abused its discretion in rejecting the Fixed-List

        Class as impermissibly fail-safe because: (a) the proposed definition does

        not meet the definition of a fail-safe class; (b) the district court improperly

        imposed an extra-textual, “fail-safe” requirement independent of Rule 23;

        and (c) the proposed Fixed-List Class satisfies Rule 23.

              A.    The Proposed Definition Is Not Fail-Safe.

              A “fail-safe” class definition is one in which “membership can only

        be ascertained through ‘a determination of the merits of the case,’” such

        as “a class defined as ‘those shareholders whom Company X defrauded.’”

        White, 64 F.4th at 303 (quoting In re Rodriguez, 695 F.3d 360, 369-70

        (5th Cir. 2012)). A “fail-safe” class “precludes membership unless the

        liability of the defendant is established.” Kamar v. RadioShack Corp.,

        375 F. App’x 734, 736 (9th Cir. 2010); see also Adair v. EQT Prod. Co.,

        320 F.R.D. 379, 420 (W.D. Va. 2017) (“A fail-safe class ... ‘is defined so

        that whether a person qualifies as a member depends on whether the

        person has a valid claim.’”) (quoting Messner, 669 F.3d at 825). In other

        words, a fail-safe class “includes only those who are entitled to relief” and




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        “cannot be defined until the case is resolved on its merits.” Young v.

        Nationwide Mut. Ins. Co., 693 F.3d 532, 538 (6th Cir. 2012).1

              Courts have identified two problems with fail-safe classes. First,

        “class members either win or, by virtue of losing, are defined out of the

        class” and therefore are not bound by the judgment. White, 64 F.4th at

        313. This “sort of class ... ‘would allow putative class members to seek a

        remedy but not be bound by an adverse judgment.’” Orduno v. Pietrzak,

        932 F.3d 710, 716-17 (8th Cir. 2019) (quotation omitted). This raises a

        “fairness problem for the defendant: the defendant is forced to defend

        against the class, but if a plaintiff loses, she drops out and can subject

        the defendant to another round of litigation.” Mullins v. Direct Digital,

        LLC, 795 F.3d 654, 660 (7th Cir. 2015).


        1 Other circuit courts have offered substantially similar definitions of

        “fail-safe.” See, e.g., Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1277
        (11th Cir. 2019) (“membership can only be determined after the entire
        case has been litigated and the court can determine who actually suffered
        an injury”); Ruiz Torres v. Mercer Canyons Inc., 835 F.3d 1125, 1138 n.7
        (9th Cir. 2016) (“‘preclude[s] membership unless the liability of the
        defendant is established’”) (quotation omitted); In re Nexium Antitrust
        Litig., 777 F.3d 9, 22 n.19 (1st Cir. 2015) (“‘it is virtually impossible for
        the Defendants to ever win the case, with the intended class preclusive
        effects’”) (quotation omitted); Rodriguez, 695 F.3d at 369-70
        (“membership can only be ascertained by a determination of the merits
        of the case because the class is defined in terms of the ultimate question
        of liability”).

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              Second, “class members are not ascertainable” before trial because

        the class definition requires a ruling on the merits of the claim in order

        to determine who is included in the class. Bryant v. King’s Creek

        Plantation, L.L.C., No. 4:20-CV-00061, 2020 WL 6876292, at *2 (E.D. Va.

        June 22, 2020). “[I]f membership in a class depends on a final resolution

        of the merits, it is administratively difficult to determine class

        membership early on.” White, 64 F.4th at 313.

              The “key to avoiding this [fail-safe] problem is to define the class so

        that membership does not depend on the liability of the defendant.”

        Mullins, 795 F.3d at 660.

              Mr. Dee’s seeks certification of a Fixed-List Class that is defined as

        the “manufacturers listed in App[endi]x A” of Docket 277-25, which

        names 5,280 specific manufacturers. JA2097 (proposed definition);

        JA1728-1828 (listing proposed class members). The proposed definition

        omitted any reference to how the list was created, to avoid the possibility

        that the court would construe such an explanation as additional criteria

        for membership. Mr. Dee’s proposed definition is appropriate because: (1)

        the explicit class definition does not meet the definition of a fail-safe

        class; and (2) even if it were appropriate to examine the underlying



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        criteria used to create the Fixed-List Class, those criteria are not fail-

        safe.

                     1.    The Fixed-List Class Is Not Fail-Safe.

                The district court rejected Mr. Dee’s proposed Fixed-List Class

        definition as fail-safe not because of the class definition itself, which

        consists of a list of specified manufacturer purchasers, but because of how

        “Plaintiffs generated the list[] of manufacturers.” JA2097. How Mr. Dee’s

        “generated the list” is not part of the class definition, however, and courts

        examining whether a class is fail-safe look only at the class definition

        itself, not some other set of criteria. Adair, 320 F.R.D. at 420 (finding

        class definition based partly on list was not fail-safe without inquiring

        whether a class defined based on the criteria used to create the list would

        be fail-safe).

                Here, the proposed definition is not fail-safe for numerous reasons.

        First, qualification for membership in the proposed class is based on a

        fixed list. McKeage v. Bass Pro Outdoor World, L.L.C., No. 12-03157, 2014

        WL 12754996, at *3 (W.D. Mo. Oct. 7, 2014) (finding specific list of class

        members didn’t create “fail-safe class,” because it did not “condition class

        membership on being entitled to relief”).



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              Second, the proposed definition is not “‘framed as a legal

        conclusion,’” and “does not use legal terms of art.” Lester v. Pay Car

        Mining, Inc., No. 5:17-CV-00740, 2018 WL 2728033, at *5 (S.D.W. Va.

        June 6, 2018) (holding that class was not fail-safe where definition was

        not “‘framed as a legal conclusion’” and “d[id] not use legal terms of art”);

        Butela v. Midland Credit Mgmt. Inc., 341 F.R.D. 581, 603 (W.D. Pa. 2022)

        (holding that class was not fail-safe where definition was not “‘framed as

        a legal conclusion’”) (quoting Rodriguez, 695 F.3d at 370).

              Third, membership does not “‘depend[] on whether the person has

        a valid claim,’” and will not change even if it is later determined that

        class members are not entitled to relief. Adair, 320 F.R.D. at 420 (quoting

        Messner, 669 F.3d at 825); accord Johnson v. City of Grants Pass, 72 F.4th

        868, 887 n.23 (9th Cir. 2023) (finding proposed class was not “fail-safe”

        where “the class would have consisted of exactly the same population

        whether [defendant] won or lost on the merits”); Kamar, 375 F. App’x at

        736 (“the class action remains manageable because the definition is not

        a circular one that determines the scope of the class only once it is decided

        that a class member was actually wronged”); JA2097. All class members

        will be bound by the judgment rather than being “defined out of the



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        class.” White, 64 F.4th at 313. (Even if class members could be defined

        out of the class, there is no potential unfairness to Inmar, because the

        conspiracy ended in 2007 and the statute of limitations would bar

        another round of litigation).

              In Adair v. EQT, on remand from this Court, the district court

        considered a class defined to include gas claimants “‘identified ... in

        filings with the [Virginia Gas and Oil] Board as unleased owners of the

        gas estate interests.’” 320 F.R.D. at 420. The district court found that the

        definition was not fail-safe because it was “theoretically possible that a

        person identified as an unleased owner” in the filings “is not actually a[n]

        [unleased] owner under the law.” Id. In that case, the person “would lose

        on the ownership claims, but—because she was identified ... would still

        be bound by the judgment,” such that the proposed definition was not

        fail-safe. Id.

              Similarly, class membership here is based on being identified in

        Appendix A of Dr. Grace’s Supplemental Report, even if identified

        entities don’t fit the criteria used to prepare Appendix A or otherwise do

        not have a valid claim.




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              To be fail-safe, manufacturer class membership would need to be

        expressly contingent on liability, e.g.: manufacturers that suffered

        antitrust injury and paid antitrust overcharges (or supracompetitive

        prices) as a result of the conspiracy between Inmar and IOS. See White,

        64 F.4th at 303; Nypl v. JP Morgan Chase & Co., No. 15-cv-9300, 2022

        WL 819771, at *10 (S.D.N.Y. Mar. 18, 2022) (“The inclusion of

        ‘supracompetitive’ in the class definition makes this an impermissible

        ‘fail-safe’ class.”).

              But such a fail-safe definition does not resemble the Fixed-List

        Class, which does not expressly require that class members suffered

        antitrust injury, paid “supracompetitive” prices, or that the conspiracy

        caused any injury that manufacturers may have suffered. See Benson v.

        Enter. Leasing Co. of Orlando, LLC, No. 6:20-CV-891, 2021 WL 2138781,

        at *3 (M.D. Fla. May 11, 2021) (holding class definition not fail-safe

        because, “[w]hile some elements of [the] claim are present in the proposed

        definition ..., the class definition does not require meeting all elements of

        the claim”); In re TD Bank, N.A. Debit Card Overdraft Fee Litig., No.

        6:15-MN-2613, 2018 WL 11303199, at *1 (D.S.C. June 20, 2018) (holding

        class definition not fail-safe where it was based on “specific factual



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        circumstances” and not “contingent on the meritorious character of such

        individuals’ claims”); Geary v. Green Tree Servicing, LLC, No. 2:14-CV-

        00522, 2017 WL 2608691, at *13 (S.D. Ohio June 16, 2017) (rejecting fail-

        safe argument where the proposed class “contains none of these

        requirements” related to the merits); Parish v. Sheriff of Cook Cnty., No.

        07-C-4369, 2016 WL 1270400, at *5 (N.D. Ill. Mar. 31, 2016) (holding

        class definition not fail-safe where “[m]embership in the class is not

        dispositive of liability”); Abella v. Student Aid Ctr., Inc., 15-cv-3067, 2015

        WL 6599747, at *4 (E.D. Pa. Oct. 30, 2015) (holding class definition not

        fail-safe where it made “no reference” to one of the “required element[s]

        for [plaintiff’s] claim”).

              Moreover, a fail-safe class is not “readily ascertainable” because

        membership cannot be determined until after the jury’s verdict on

        liability. White, 64 F.4th at 313; Bryant, 2020 WL 6876292, at *2. Here,

        however, Mr. Dee’s has already identified each class member using

        Inmar’s transactional data, and no additional administrative steps are

        necessary to ascertain membership. See Dkt. 287 at 18; JA1447

        (“Plaintiffs have ‘specifically identif[ied] each class member’”); Karhu v.

        Vital Pharm., Inc., 621 F. App’x 945, 948 (11th Cir. 2015) (holding that



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        the class is ascertainable where class members can be identified by

        reference to records that are in the defendant’s control and are useful for

        identification purposes); Woodward v. GEICO Advantage Ins. Co., No. CV

        GLR-21-952, 2022 WL 2953053, at *11 (D. Md. July 25, 2022) (finding

        ascertainability satisfied where “membership determinations will

        require an evaluation of company records”).

                    2.    The Criteria Used in Preparing the Fixed List Are Not
                          Fail-Safe.

              Even if it were appropriate to examine underlying criteria behind

        how the fixed list was compiled (rather than how the class is explicitly

        defined), the criteria for creating the list are not fail-safe.

              The district court found that the fixed list was “generated … from

        Dr. Grace’s regressions which sought to determine which manufacturers

        [suffered harm],” and that class membership is therefore “‘conditioned on

        having suffered antitrust injury.”” JA2097 (citing Dkt. 275).

              The criteria for inclusion on the list, however, appropriately limit

        class membership to manufacturers that are similarly situated with Mr.

        Dee’s insofar as they will be able to rely on the individualized results of

        Dr. Grace’s regression analysis as evidence of antitrust injury and

        damages. Manufacturers to which Dr. Grace’s regressions were able to


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        observe injury are included in the class list, and manufacturers to which

        fluctuations in volume prevented the regressions from observing injury

        are not included. JA1724-1725, JA1728-1828.

              The class definition could be redefined, without any change in

        membership, to, e.g.: All manufacturers that paid shipping fees to Inmar

        or IOS during the class period and that can rely on the same evidence of

        damages as class representative Mr. Dee’s Inc. because the manufacturer

        is included in Appendix A.

              Narrowing the class to members that will rely on the same common

        evidence is permitted by and consistent with the goals of Rule 23. See

        Olean, 31 F.4th at 669 n.14 (“the court may redefine [an] overbroad class

        to include only those members who can rely on the same body of common

        evidence to establish the common issue”) (emphasis added); Byrd v.

        Aaron’s Inc., 784 F.3d 154, 167 (3d Cir. 2015) (“Requiring a putative class

        to include all individuals who may have been harmed by a particular

        defendant       could   also   severely     undermine     the     named   class

        representative’s ability to present typical claims (Fed.R.Civ.P. 23(a)(3))

        and adequately represent the interests of the class (Fed.R.Civ.P.

        23(a)(4)).”); see also Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623



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        (1997) (“The Rule 23(b)(3) predominance inquiry tests whether proposed

        classes are sufficiently cohesive….”).

              While the Fixed-List Class differs from the All-Payer Class in that

        it excludes manufacturers for which fluctuations in volume masked price

        increases in Dr. Grace’s regressions, the exclusion of potentially

        uninjured manufacturers from the class before trial does not make a class

        fail-safe, because their exclusion is not contingent on an adverse jury

        verdict. Vogt v. State Farm Life Ins. Co., 963 F.3d 753, 768 (8th Cir. 2020).

        In Vogt, the Eighth Circuit found that the district court’s exclusion of 487

        potential class members did not make a class fail-safe where “the district

        court excluded these class members prior to trial and none of their claims

        were submitted to the jury,” and “all [remaining] members of the class

        were bound by the judgment.” Id.

              Dr. Grace’s Appendix A is composed of 5,280 direct payer

        manufacturers and excludes 2,533 direct payer manufacturers for which

        Dr. Grace was unable to observe individualized harm in her regression.

        Dkt. 302 at 2. The exclusion of those 2,533 manufacturers at the

        certification stage is not dependent on an adverse jury verdict and

        therefore not fail-safe. Vogt, 963 F.3d at 768.



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              The district court found that inclusion on the list was “‘conditioned

        on having suffered antitrust injury.’” JA 2097 (citing Dkt. 275).2

        Regardless of whether the jury finds any class member suffered antitrust

        injury, however, class membership of the Fixed-List Class would not

        change. See Adair, 320 F.R.D. at 420 (finding that class based partly on

        list of class members identified in a statutorily-mandated filing for gas

        well operators was not fail-safe where some could have been mistakenly

        included on the list); McKeage, 2014 WL 12754996, at *3 (finding specific

        list of class members was not fail-safe).

              A defendant’s argument “that they are not ultimately liable for

        many of the class members[] ... proves the point” that the class “will

        include both those entitled to relief and those not” and “is not a proscribed

        fail-safe class.” Young, 693 F.3d at 538; accord Geary, 2017 WL 2608691,

        at *13 (citing Young, 693 F.3d at 538); see also Toney v. Quality Res., Inc.,

        323 F.R.D. 567, 581 (N.D. Ill. 2018) (finding class was not fail-safe

        because “liability and class membership are not coterminous”).


        2 In rejecting the earlier class definition of manufacturers that paid
        observably higher shipping fees, the court further found that the
        definition would “require[] a preliminary determination that higher fees
        constitute an injury that will be remedied by a successful verdict in favor
        of Plaintiffs.” JA1447-1448.

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              Here, Inmar argues that some or all of the proposed class members

        did not suffer injury and are not entitled to relief. Dkt. 282 at 21-22

        (arguing that, e.g., class representative Mr. Dee’s and class member

        Kimberly-Clark did not suffer injury); JA1448 (“[T]he parties dispute

        whether Plaintiffs’ expert’s analysis can reliably show antitrust impact”);

        Dkt. 235 at 1-2, 28-30 (Inmar arguments disputing antitrust injury and

        liability). Inmar argues, for example, that it is not liable to any

        manufacturers, including those that paid higher prices, because any price

        increases were not the result of an unreasonable restraint of trade, and

        that the price increases did not “flow[] directly” from the alleged

        conspiracy. Dkt. 235 at 1-2, 27-30. A finding that class members paid

        higher prices (as Dr. Grace’s regressions sought to demonstrate)

        therefore would be insufficient to prove liability standing alone. Id.

              The fact that additional proof beyond the criteria used to develop

        the class list is required to determine liability demonstrates that the

        proposed class is not defined in terms of liability. Melgar v. CSK Auto,

        Inc., 681 F. App’x 605, 607 (9th Cir. 2017) (“Here, the class definition did

        not presuppose its success, because the liability standard applied by the

        district court required class members to prove more facts to establish



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        liability than are referenced in the class definition.”); Kamar, 375 F.

        App’x at 736 (“fail-safe” class “precludes membership unless the liability

        of the defendant is established”).

              Further, a class definition is not fail-safe if it is based on factual

        criteria rather than legal criteria, even if there is a strong correlation

        between the factual criteria and the defendant’s liability. Iverson v.

        Advanced Disposal Servs., Inc., No. 3:18-CV-867-J-39, 2019 WL 2509811,

        at *3 (M.D. Fla. June 7, 2019) (“While [plaintiffs’] definition may prove to

        strongly correlate with success or failure on the merits, the qualifying

        standards to join the class are based on factual criteria, not legal ones.”);

        Hardgers-Powell v. Angels in Your Home LLC, 330 F.R.D. 89, 101-02

        (W.D.N.Y. 2019) (finding class defined as employees who were not paid

        “at least one and one-half times their regular hourly rate for [overtime]”

        was “ascertainable” and not “fail-safe”).

              Here, the district court assumed that because paying higher prices

        is correlated with antitrust injury, the class definition is contingent on a

        finding of antitrust injury, but such correlation does not make the class

        definition fail-safe. JA2097; Iverson, 2019 WL 2509811, at *3; Hardgers-

        Powell, 330 F.R.D. at 101-02.



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              Even if the class were defined on the basis of how the list was

        generated, membership is readily ascertainable and not administratively

        difficult, because Mr. Dee’s has already identified every class member

        based on those criteria. JA1728-1828, JA1447 (“it is true that Plaintiffs

        have ‘specifically identif[ied] each class member [in Appendix A]’”).

        Moreover, “individual analyses” were not required to create the list of

        class members, as Dr. Grace relied on common evidence and

        methodology.3 And the proposed class definition “eliminate[s] any Rule

        23-specific administrative challenges by defining the classes based on

        what [was already] accomplished” in Dr. Grace’s creation of the list

        rather than requiring any new or additional analysis. Adair, 320 F.R.D.

        at 400.

              B.    Rule 23 Does Not Contain a Prohibition on Fail-Safe
                    Classes.

              Even if the proposed class were fail-safe, the district court erred in

        applying an independent requirement against fail-safe classes separate

        from the explicit requirements of Rule 23. Specifically, the district court

        rejected the Fixed-List Class definition on the grounds that “‘membership




        3 JA1718.



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        is conditioned on having suffered antitrust injury or impact in the form

        of increased shipping fees’” and therefore impermissibly “‘fail-safe.’”

        JA2097 (citing Dkt. 275).4

              As the D.C. Circuit recently held in White, a court abuses its

        discretion if it denies certification “based on a stand-alone and extra-

        textual rule against ‘fail-safe’ classes, rather than applying the [Rule 23]

        factors.” 64 F.4th at 313; see also Rodriguez, 695 F.3d at 370 (“our

        precedent rejects the fail-safe class prohibition”).

              Rule 23 does not contain any explicit prohibition on “fail-safe”

        classes. See Fed. R. Civ. P. 23; White, 64 F.4th at 313. “[T]he contention

        that a class is ‘fail-safe’ often serves as shorthand for defects in the

        requirements explicitly set forth in Rule 23[.]” In re LIBOR-Based Fin.

        Instruments Antitrust Litig., 299 F. Supp. 3d 430, 530 (S.D.N.Y. 2018).

              This Court has not adopted a stand-alone rule against fail-safe

        classes. White, 64 F.4th at 310 (observing that this Court in EQT

        Production Co. v. Adair, 764 F.3d 347, 360 n.9 (4th Cir. 2014),

        “instruct[ed] district court to consider possibility of anti-fail safe rule on


        4 In its earlier Order denying certification without prejudice (JA1446,

        JA1448-1449), the district court also cited ascertainability, which is
        satisfied as discussed in Section I(C), infra.

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        remand”) (emphasis added); Paulino v. Dollar Gen. Corp., No. 3:12-CV-

        75, 2014 WL 1875266, at *7 (N.D.W. Va. Feb. 24, 2014) (“[A]bsent Fourth

        Circuit precedent on the issue, the Court does not find the allegation that

        Plaintiff presents a ‘fail safe’ class as a sufficient independent basis for

        denial of class certification.”).

              Most circuits similarly have not adopted a stand-alone fail-safe

        rule. White, 64 F.4th at 313 (rejecting stand-alone rule against fail-safe

        classes in D.C. Circuit); Rodriguez, 695 F.3d at 370 (rejecting prohibition

        of fail-safe classes in the Fifth Circuit); Melgar, 681 F. App’x at 607

        (“[O]ur circuit’s caselaw appears to disapprove of the premise that a class

        can be fail-safe.”) (citing Vizcaino v. United States District Court, 173

        F.3d 713, 721-22 (9th Cir. 1999)); Sherman v. Trinity Teen Sols., Inc., 84

        F.4th 1182, 1191 n.6 (10th Cir. 2023) (implicitly recognizing that the

        Tenth Circuit has not adopted an independent fail-safe requirement);

        Bernstein v. Serv. Corp. Int’l, No. 17-cv-4960, 2018 WL 6413316, at *3

        (E.D. Pa. Dec. 6, 2018) (“Because the Third Circuit has not yet adopted

        the concept of fail-safe classes, I begin with the established

        ascertainability analysis.”) (citation omitted); Fitzmorris v. N.H. Dep’t of

        Health & Hum. Servs., No. 21-CV-25, 2023 WL 8188770, at *8 (D.N.H.



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        Nov. 27, 2023) (“The First Circuit ... has never held that class certification

        can be denied on this [fail-safe] basis where the requirements of Rule 23

        are otherwise satisfied.”) (citing In re Nexium Antitrust Litig, 777 F.3d 9,

        22 (1st Cir. 2015)); LIBOR-Based Fin. Instruments, 299 F. Supp. 3d at

        530 (“‘fail-safe’ often serves as shorthand for [Rule 23] defects”).

              The requirements for class certification are explicitly set forth in

        Rule 23. White, 64 F.4th at 313-14. “Courts are not free to amend [the

        Federal Rules of Civil Procedure] outside the process Congress ordered.”

        Amchem, 521 U.S. at 620. And “courts should generally not depart from

        the usual practice under the Federal Rules on the basis of perceived

        policy concerns.” Jones v. Bock, 549 U.S. 199, 212-16 (2007).

              “Courts should stick to Rule 23’s specified requirements ... and, in

        doing so, will likely find any ‘fail-safe’ concerns assuaged.” White, 64

        F.4th at 313-14. “Rule 23 is a carefully structured rule that, properly

        applied, already addresses relevant [fail-safe related] defects in the class

        definition.” Id. at 313. “[T]he way to guard against [fail-safe] concerns is

        to ‘apply the terms of Rule 23 as written,’ which are carefully designed to

        confer sufficient guarantees of fairness on class action defendants.”

        Fitzmorris, 2023 WL 8188770, at *9 (quoting id. at 314); see also Geoffrey



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        C. Shaw, Class Ascertainability, 124 Yale L.J. 2354, 2387 (2015) (“Rule

        23 already provides the necessary equipment to block failsafe class

        definitions.”).

              This Court should not adopt a new independent fail-safe prohibition

        where Rule 23 already adequately addresses fail-safe concerns. White, 64

        F.4th at 313-14 (rejecting stand-alone prohibition against fail-safe

        classes).

              C.    The Fixed-List Class Satisfies Rule 23.

              The fail-safe issue is properly analyzed as part of an analysis of

        whether Rule 23’s requirements are satisfied. Id. at 315 (“[W]e reject a

        rule against ‘fail-safe’ classes as a freestanding bar to class certification

        ungrounded in Rule 23’s prescribed criteria. Instead, district courts

        should rely on the carefully calibrated requirements in Rule 23....”).

              Here, the only Rule 23 requirement that the lower court suggested

        that the Fixed-List Class may have failed to satisfy was ascertainability.

        Specifically, the Court stated that the Fail-Safe Class definition

        “mirror[s] the fail-safe classes this court [previously] refused to certify,

        and fail[s] for the same reason.” JA2097 (citing Dkt. 275). The previous




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        Order rejected the proposed class definition as fail-safe partly because

        identification of class members “is not straightforward.” JA1448.

              In the Fourth Circuit, Rule 23’s implicit ascertainability

        requirement means that proposed class members must be “readily

        identif[iable] ... in reference to objective criteria.” EQT Prod., 764 F.3d at

        358. “‘If class members are impossible to identify without extensive and

        individualized fact-finding or mini-trials, then a class action is

        inappropriate,’” but “plaintiffs need not be able to identify every class

        member at the time of certification.” Id. (quoting Marcus v. BMW of N.

        Am., LLC, 687 F.3d 583, 593 (3d Cir. 2012)).

              This Court has not adopted any heightened ascertainability

        requirements related to a potentially fail-safe class. Paulino, 2014 WL

        1875266, at *7; cf. Bernstein, 2018 WL 6413316, at *4 (“Because the Court

        of Appeals has not analyzed ascertainability by employing fail-safe

        concepts, I see no need to examine whether the proposed classes are fail-

        safe classes and to what extent that might impede ascertainability.”).

              Here, the proposed class is not merely ascertainable but has been

        conclusively ascertained because every member of the class has been

        identified. No additional fact-finding is necessary. Dkt. 287 at 18 (citing



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        Appendix A, Dkt. 257-25); JA1447. Thus, it is not “‘impossible to identify

        [class members] without extensive and individualized fact-finding.’” EQT

        Prod., 764 F.3d at 358 (quoting Marcus, 687 F.3d at 593).

              Moreover, the class is ascertainable because the class definition

        does not make membership contingent on liability or any other findings.

        Moore v. Primecare Med., Inc., No. 3:19-CV-106, 2020 WL 1248976, at *5

        (W.D. Pa. Mar. 16, 2020) (finding class definition ascertainable and not

        fail-safe where “class definition does not require the Court to make

        determinations of liability to determine class membership”).

              “[I]f the Defendants can objectively determine the precise number

        of class members there are before trial, the class is ascertainable.”

        Newton v. Am. Debt Servs., Inc., No. C-11-3228, 2015 WL 3614197, at *6

        (N.D. Cal. June 9, 2015). “Defendants actually concede this class is

        ascertainable—albeit without recognizing the concession—by stating the

        precise number of class members that are in [the] proposed class.” Id.

        Here, Inmar recognizes that there are precisely 5,280 class members in

        the Fixed-List Class. See Dkt. 300 at 1 (representation by Inmar that

        there were 5,280 members in Dr. Grace’s Appendix A and in the class

        proposed in December 2020, which includes the same members as the



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        proposed Fixed-List Class); Dkt. 296 at 8 (same); Dkt. 282 at 10 (same).

        By recognizing that the Fixed-List Class consists of 5,280 class members,

        Inmar implicitly concedes ascertainability. Newton, 2015 WL 3614197,

        at *6.

                 Courts have sometimes considered whether fail-safe classes fail to

        satisfy four other requirements of Rule 23. White, 64 F.4th at 314. First,

        if class membership depends on a merits determination, and plaintiffs

        lose on the merits, the class may have zero members and fail to satisfy

        numerosity. Id. Here, class membership is not contingent on a merits

        determination; all 5,280 manufacturers listed in Appendix A will remain

        in the class regardless of any findings on the merits. Dkt. 287 at 18

        (defining proposed class as a fixed list).

                 Second, a fail-safe class definition could reveal a lack of common

        issues of law or fact if there are no more specific commonalities than

        having suffered a violation of the same provision of law. White, 64 F.4th

        at 314 (“Rule 23 does not allow for such a 30,000 foot view of

        commonality.”). Here, class members do not simply allege Sherman Act

        violations by Inmar. Rather, every class member alleges and will rely on

        common evidence of the same anti-competitive agreements between IOS



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        and Inmar, and on common evidence that the class members suffered

        injury and damages in the same way as the result of those agreements.

        See Section III(C), infra (discussing common evidence of class-wide

        injury); Dkt. 277 at 19-30.

              Third, a fail-safe class may be unable to satisfy typicality if named

        plaintiffs cannot demonstrate that they will remain members of the class

        at the time of final judgment. White, 64 F.4th at 314. Here, Mr. Dee’s will

        remain a class member even if it loses at trial, as membership is defined

        as a fixed list. Dkt. 287 at 18.

              Fourth, a class action may not be superior “if the class would

        collapse should the plaintiffs lose on the merits.” White, 64 F.4th at 314.

        Here, the class of 5,280 members would remain intact even if they lost on

        the merits. Dkt. 287 at 18.

              Because the class satisfies Rule 23’s requirements and is not fail-

        safe, the denial of certification of the Fixed-List class should be reversed.

        II.   The District Court Erred in Rejecting the Minimum-
              Purchase Class as Unascertainable.

              The       proposed    Minimum-Purchase        Class     is   defined   as

        “[m]anufacturers that directly paid” shipping fees to one of the




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        conspirators during the class period and satisfied objective minimum

        purchase requirements, e.g., 2.2 million coupons. Dkt. 279 at 9.

              The district court improperly rejected the Minimum-Purchase

        Class definition as not “ascertainable.” JA2069-2075. But “[t]he

        ascertainability inquiry is narrow. If defendants intend to challenge

        ascertainability, they must be exacting in their analysis and not infuse

        the ascertainability inquiry with other class-certification requirements.”

        Byrd, 784 F.3d at 165.

              Ascertainability requires that “a court can readily identify the class

        members in reference to objective criteria.” EQT Prod., 764 F.3d at 358.

        “[P]laintiffs need not be able to identify every class member at the time

        of certification,” but fail to satisfy ascertainability “‘[i]f class members are

        impossible to identify without extensive and individualized fact-finding

        or mini-trials.’” Id. (quoting Marcus, 687 F.3d at 593). “‘The

        individualized factfinding giving rise to mini-trials that defeat

        ascertainability are those requiring determinations on the merits – not

        an administrative review to determine whether an objective element of a

        class definition is met.’” In re Zetia (Ezetimibe) Antitrust Litig., No. 2:18-

        MD-2836, 2020 WL 5778756, at *14 (E.D. Va. Aug. 14, 2020), report &



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        recommendation adopted, 2021 WL 3704727 (E.D. Va. Aug. 20, 2021)

        (quotation omitted).

              Here, Minimum-Purchase Class members are readily identifiable

        in reference to objective criteria, and Mr. Dee’s has already identified the

        3,219 members. JA2072-2073 (citing Dkts. 279-27, 279-31); Dkt. 282 at

        10; JA1920-1921 (Decl. of M. Kheyfets, Inmar Expert) (“Plaintiffs’ new

        proposed manufacturer class comprises of 3,219 purportedly ‘damaged’

        members.”). Inmar does not dispute the composition of the class, or that

        membership is based on objective criteria and members are readily

        identifiable. See Dkt. 282 at 10; JA1920-1921. The ascertainability

        requirement has therefore been satisfied. EQT Prod., 764 F.3d at 358;

        Newton, 2015 WL 3614197, at *6 (“Defendants actually concede this class

        is ascertainable ... by stating the precise number of class members”).

              The district court, relying primarily on an out-of-circuit trial court

        decision, held that ascertainability imposes additional hurdles. The court

        required that there must be a “connection between Defendants’ allegedly

        impermissible activities and the classes Plaintiffs seek to certify,”

        including for the minimum purchase requirements. JA2074 (citing

        Daigle v. Shell Oil Co., 133 F.R.D. 600, 602-03 (D. Colo. 1990)). In other



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        words, the class definition cannot be “untethered from the scope of

        Defendants’ alleged wrong.” JA2075. And the district court further

        required that the class definition not “arbitrarily exclude some injured

        parties from the class.” JA2075.

               The Fourth Circuit has never recognized an ascertainability

        requirement     of   a    “connection      between    Defendants’   allegedly

        impermissible activities and the classes Plaintiffs seek to certify,” or a

        requirement that injured parties cannot be excluded from a class; and

        neither has any other court of appeals. See generally Dkt. 287 at 3-7. To

        add such requirements would improperly “infuse the ascertainability

        inquiry with other class-certification requirements.” Byrd, 784 F.3d at

        165.

               Several courts have explicitly rejected a requirement that injured

        persons not be excluded. Id. at 167; Bertulli v. Indep. Ass’n of Cont’l

        Pilots, 242 F.3d 290, 296 (5th Cir. 2001); Mace v. Van Ru Credit Corp.,

        109 F.3d 338, 342-44 (7th Cir. 1997) (rejecting argument that nationwide

        class must be sought in Fair Debt Collection Practices Act (“FDCPA”)

        class action rather than narrower class); Bennett v. GoDaddy.com LLC,

        No. CV-16-03908, 2019 WL 1552911, at *12 (D. Ariz. Apr. 8, 2019)



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        (rejecting argument that “certification of the broadest possible class”

        must be sought); Vaughn v. CSC Credit Servs., Inc., No. 93 C 4151, 1994

        WL 449247, at *3 (N.D. Ill. Mar. 1, 1994) (“The fact that a broader class

        could have been certified has not prevented courts from certifying smaller

        classes.”) (collecting cases).

              As the Third Circuit explained in Byrd:

               We decline to engraft an ‘underinclusivity’ standard onto
               the ascertainability requirement. Individuals who are
               injured by a defendant but are excluded from a class are
               simply not bound by the outcome of that particular action
               .... Requiring a putative class to include all individuals who
               may have been harmed by a particular defendant could also
               severely undermine the named class representative’s ability
               to present typical claims (Fed.R.Civ.P. 23(a)(3)) and
               adequately represent the interests of the class (Fed.R.Civ.P.
               23(a)(4)). The ascertainability standard is neither designed
               nor intended to force all potential plaintiffs who may have
               been harmed in different ways by a particular defendant to
               be included in the class in order for the class to be certified.

        784 F.3d at 167 (emphasis added); accord Bertulli, 242 F.3d at 296 & n.25

        (affirming certification where the district court chose a class definition

        that excluded some injured persons, where the narrower class had

        greater cohesion and commonality of interest than a broader class would

        have, and “non-members of the class remain free to assert their rights”).




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              Because ascertainability is an implied requirement untethered to

        the text of Rule 23, the ascertainability requirement should be narrowly

        construed and should not be expanded beyond the requirements already

        explicitly recognized by this Court. Jones, 549 U.S. at 212.

              Requiring that classes be defined and limited only in connection

        with defendants’ “impermissible activities” is at odds with a fail-safe

        requirement of not defining the class based on harm from defendants’

        impermissible    activities.    Byrd,       784    F.3d   at      167   (rejecting

        underinclusivity standard and finding that requiring a class to be defined

        in connection with being harmed by defendant in a particular way

        “approaches requiring a fail-safe class”).

              The district court also raised a concern that excluding injured class

        members frustrates one of the purposes of class actions—avoiding

        multiple lawsuits. JA2075 (citing Fariasantos v. Rosenberg & Assocs.,

        LLC, 303 F.R.D. 272, 278 (E.D. Va. 2014)). In Fariasantos, however, the

        defendant argued that “‘serial [county-by-county] class actions aimed at

        avoiding the statutory damages cap [for FDCPA actions] are not a

        superior method of adjudication,’” and the court addressed the problem

        by granting certification of a broader state-wide class. 303 F.R.D. at 278;



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        see also Dkt. 287 at 4-5 (distinguishing similar FDCPA case cited by

        Inmar where court rejected plaintiffs’ effort to evade FDCPA statutory

        damages cap through “‘numerous unnatural classes’”) (quoting Wenig v.

        Messerli & Kramer P.A., No. 11-CV-3547, 2013 WL 1176062, at *6 (D.

        Minn. Mar. 21, 2013)). No such statutory damages cap is relevant here,

        and the solution to an underinclusivity problem would be to grant

        certification of a broader class. Fariasantos, 303 F.R.D. at 278.

              The district court raised a concern that excluding some injured

        manufacturers would deny them “the benefits of class membership.”

        JA2073-2074. But denying certification of the entire class would

        exacerbate that problem, not remedy it.

              Even if “connection between Defendants’ allegedly impermissible

        activities and the classes” were a requirement in this circuit, JA2074, Mr.

        Dee’s has satisfied that requirement. The Minimum-Purchase Class is

        limited to direct payers of shipping fees, and Mr. Dee’s alleges that all

        direct payers were exposed to anticompetitive conduct. See Dkt. 298 at 5-

        17; Manual for Complex Litig. § 21.222 (4th ed.) (giving example of

        appropriate class definition of “those persons and companies that

        purchased specified products ... from the defendants during a specified



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        period”); In re Titanium Dioxide Antitrust Litig., 284 F.R.D. 328, 351 (D.

        Md. 2012), amended, 962 F. Supp. 2d 840 (D. Md. 2013) (certifying class

        of direct purchasers).

              The   minimum       purchase    requirements       ensure   a   stronger

        “connection between Defendants’ allegedly impermissible activities and

        the class[],” ensuring the class is more closely “[]tethered [to] the scope of

        Defendants’ alleged wrong,” JA2074, as “[t]he more a class member was

        exposed to the conspirators’ services, the more likely they were to have

        suffered harm.” Dkt. 287 at 8; see also JA1869-1908 (listing damages by

        number of months of purchases).

              In Daigle, cited by the district court, the plaintiffs made no effort to

        identify which individuals were exposed to the defendants’ conduct or

        suffered injury, and class membership was defined by arbitrary

        geographic boundaries and not limited to individuals who were exposed

        to or likely injured by defendant’s conduct, which involved a toxic waste

        disposal pond. 133 F.R.D. at 602-03. By contrast, in Boggs v. Divested

        Atomic Corp., the court certified a class defined as residents within six

        miles of a radioactive materials plant where an expert testified that

        persons within six miles were “exposed to radiation,” and that “‘doses



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        within a six-mile radius are larger than doses outside of a six-mile

        radius.’” 141 F.R.D. 58, 62 (S.D. Ohio 1991).

              Here, the proposed minimum purchase requirements are akin to

        Boggs, not Daigle. All purchasers were exposed to the conspiracy;

        imposing the minimum-purchase requirements limited the class to

        manufacturers that had greater exposure to the conspiracy; and the

        minimum-purchase requirements are correlated with an increased

        likelihood and magnitude of damages. Compare JA1870-1871 (reflecting

        modest damages for manufacturer class members with 9 months of

        purchases), with JA1901-1905 (reflecting substantially higher damages

        for manufacturers with 60 months of purchases), and JA1906-1908

        (reflecting that fewer months of purchases was correlated with an

        increased likelihood that manufacturers had no observable damages).

              Courts have regularly approved class definitions that narrowed

        classes using criteria designed to exclude mostly uninjured class

        members, as here, even if some injured class members were also

        excluded. See, e.g., Byrd, 784 F.3d at 166-67 (rejecting argument that

        revision to class definition that excluded injured persons resulted in

        impermissibly underinclusive class definition); In re Marriott Int’l, Inc.,



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        Customer Data Security Breach Litig., 341 F.R.D. 128, 143 (D. Md. 2022)

        (narrowing class to “exclude [certain] individuals who are uninjured”); In

        re Zetia (Ezetimibe) Antitrust Litig., No. 2:18-MD-2836, 2021 WL

        3704727, at *3 (E.D. Va. Aug. 20, 2021) (certifying class narrowed to

        ensure it did not contain too many uninjured members); Henderson v.

        Corelogic Nat’l Background Data, LLC, No. 3:12CV97, 2016 WL 4611571,

        at *4 (E.D. Va. Sept. 2, 2016) (permitting narrowing “to make the

        proposed class more manageable”); Abdeljalil v. Gen. Elec. Cap. Corp.,

        306 F.R.D. 303, 306 (S.D. Cal. 2015) (certifying class excluding mostly

        uninjured members that was a “narrower version of the [prior] class

        definition”); Dennis v. Saks & Co., 74Civ.4419, 1975 WL 909, at *6

        (S.D.N.Y. July 10, 1975) (narrowing class to purchasers of more than

        $250).

              Thus, ascertainability is satisfied, and the Minimum-Purchase

        Class should be certified in the alternative.

        III. The District Court Erred in Finding Uninjured Class
             Members Defeated Predominance of the All-Payer Class.

              The proposed All-Payer Class is defined as “manufacturers that

        directly paid [Inmar subsidiary] [Defendant-Appellee] C[arolina]

        C[oupon] C[learing] shipping fees during the class period and/or were


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        clients     of   [Inmar     subsidiary]     [Defendant-Appellee]   C[arolina]

        M[anufacturer’s] S[ervices] and directly paid shipping fees to IOS.” Dkt.

        298 at 2.

              The district court abused its discretion in: (a) finding that 2,533 All-

        Payer Class members were uninjured; (b) applying a per se rule against

        uninjured class members rather than applying Rule 23; and (c) finding

        that individualized issues will predominate where Mr. Dee’s will rely on

        common evidence to prove injury, and any uninjured class members can

        easily be winnowed out using common evidence.

              A.     The District Court’s Factual Finding on the Number of
                     Uninjured Class Members Was Clearly Erroneous.

              The district court made the erroneous factual finding that the “All

        Payer Manufacturer class contains 2,533 uninjured members,” or

        approximately 32% of the class. JA2095. As Dr. Grace testified, she did

        not find “that those guys weren’t harmed.” JA2014. Rather, she explained

        that industry pricing was “largely dictated by volume,” JA1980, in which

        “larger volume dictates a lower price,” JA2013. For the 2,533

        manufacturers where there were no observable price increases during the

        conspiracy period in the regression, “those are cases where volume

        dominates,” so “we can’t observe harm” in the regression. JA2013-2014


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        (emphasis added). “It doesn’t mean that there aren’t damages. It just

        means that they get clouded” by volume. JA2015. For some of those

        manufacturers, they had no purchases prior to the conspiracy period,

        such that it was impossible to compare individualized pricing before the

        conspiracy with prices during the conspiracy. JA1980. There was no

        evidence supporting the finding that 2,533 class members were

        uninjured.

              Courts have recognized that the absence of observable harm is

        distinct from class members being uninjured. Olean, 31 F.4th at 680

        (explaining that regression model where 28% of class members had no

        observable injury did not mean they were “uninjured” but reflected only

        that those class members had “no or limited transactions during the

        benchmark period”); see also In re Polyester Staple Antitrust Litig., No.

        3:03CV1516, 2007 WL 2111380, at *20 n.54 (W.D.N.C. July 19, 2007)

        (noting that presumption of impact may be applied in some cases “‘to deal

        with the question of impact when there are multiple variables affecting

        the price paid by the plaintiffs’”) (quotation omitted).

              Dr. Grace testified that a “good estimate” of impact and damages

        would be to take median price increase (i.e., 28 cents) times volume.



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        JA1979-1980. Because the All-Payer Class is limited to manufacturers

        with non-zero volume, that calculation would result in harm to all

        manufacturer class members. In other words, Dr. Grace’s testimony

        indicated that zero members of the All-Payer Class were uninjured. And

        Inmar offered no evidentiary basis to suggest that 2,533 class members

        were uninjured. Cf. Lacy v. Cook Cnty., Ill., 897 F.3d 847, 864 (7th Cir.

        2018) (rejecting uninjured class member argument and affirming

        certification where “defendants have not ... shown ‘a great many’

        [uninjured class members]”) (emphasis added) (quotation omitted).

              The district court’s erroneous factual finding was not harmless, as

        it was the basis for its rejection of the All-Payer Class as containing too

        many uninjured class members.

              B.   The District Court Imposed an Incorrect Legal
                   Standard for Uninjured Class Members.

              Even if the All-Payer Class contained a large number of uninjured

        members, the district court erred in imposing a per se rule that “courts

        [cannot] certify classes with large numbers of uninjured members.”

        JA2092. “[A] per se rule that a class cannot be certified if it includes more




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        than a de minimis number of uninjured class members” is “inconsistent

        with Rule 23(b)(3).” Olean, 31 F.4th at 669 & n.13.

              This Court has not adopted such a per se rule. JA2093 (“The Fourth

        Circuit has not endorsed an approach to the issue of uninjured class

        members.”); cf. Olean, 31 F.4th at 669 n.13 (rejecting per se rule and

        explaining that the courts in In re Rail Freight Fuel Surcharge Antitrust

        Litig., 934 F.2d 618 (D.C. Cir. 2019) and In re Asacol Antitrust Litig., 907

        F.3d 42 (1st Cir. 2018) applied a fact-specific analysis of predominance

        rather than a per se rule related to uninjured class members).

              This Court should not adopt a per se rule, which would be contrary

        to the explicit requirements of Rule 23. Olean, 31 F.4th at 669 (holding

        that per se uninjured class member rule “is inconsistent with Rule

        23(b)(3)”); Amchem Prods., 521 U.S. at 620 (“Courts are not free to amend

        [the Federal Rules].”); White, 64 F.4th at 313-14 (“Courts should stick to

        Rule 23’s specified requirements”); Asacol, 907 F.3d at 51 (finding that

        the issue of uninjured class members should be resolved based on “the

        requirement of Rule 23(b)(3) that common issues must predominate”).

        Nor do policy concerns support the creation of a new per se rule. Nexium,

        777 F.3d at 22 (“At worst the inclusion of some uninjured class members



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        is inefficient, but this is counterbalanced by the overall efficiency of the

        class action mechanism.”).

               By applying a legal standard inconsistent with Rule 23’s explicit

        requirements, the district court abused its discretion. Olean, 31 F.4th at

        669.

               C.   The All-Payer Class Satisfies Predominance.

               The issue of uninjured class members is properly addressed under

        Rule 23’s predominance prong. Id. at 668. Predominance requires that

        “questions of law or fact common to class members predominate over any

        questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).

        “An individual question is one where ‘members of a proposed class will

        need to present evidence that varies from member to member,’ while a

        common question is one where ‘the same evidence will suffice for each

        member to make a prima facie showing [or] the issue is susceptible to

        generalized, class-wide proof.’” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S.

        442, 453 (2016) (quotation omitted).

               “[T]he purpose of the predominance inquiry into uninjured class

        members ... ‘is to test whether any dissimilarity among the claims of class




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        members can be dealt with in a manner that is not inefficient or unfair.’”

        Zetia, 2020 WL 5778756, at *16 (quoting Asacol, 907 F.3d at 51-52).

              “Merits questions may be considered ... only to the extent[] that

        they are relevant to determining whether the Rule 23 prerequisites for

        class certification are satisfied.” Amgen Inc. v. Conn. Ret. Plans & Tr.

        Funds, 568 U.S. 455, 466 (2013). “[I]t would ‘put the cart before the

        horse,’ to read Rule 23 to require that a plaintiff demonstrate prior to

        class certification that each class member is injured.” Asacol, 907 F.3d at

        58 (quotation omitted). “[A] district court is limited to resolving whether

        the evidence establishes that a common question is capable of class-wide

        resolution, not whether the evidence in fact establishes that plaintiffs

        would win at trial.” Olean, 31 F.4th at 666-67; see also Titanium Dioxide,

        284 F.R.D. at 345 (plaintiffs “need not prove” antirust impact, but only

        demonstrate that “‘antitrust impact is capable of proof at trial through

        [common] evidence’”) (quoting In re Hydrogen Peroxide Antitrust Litig.,

        552 F.3d 305, 311-12 (3d Cir. 2008)).

              “If the court thought that no class can be certified until proof exists

        that every member has been harmed, it was wrong.” Suchanek v. Sturm

        Foods, Inc., 764 F.3d 750, 757 (7th Cir. 2014). “[A] class may still be



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        properly certified even if it ‘consists largely ... of members who are

        ultimately shown to have suffered no harm.’” Black v. Occidental

        Petroleum Corp., 69 F.4th 1161, 1185 (10th Cir. 2023) (quoting Messner,

        669 F.3d at 824). Where the concern is that the proposed class exhibits

        some fatal similarity, such as that its expert evidence is inaccurate, that

        defense is common to the class and should be addressed as a matter of

        summary judgment, not class certification. Tyson Foods, 577 U.S. at 457.

              Certification can be granted where a large number of uninjured

        class members were exposed to the challenged conduct but is more

        questionable where those members were not exposed and “‘could not have

        been harmed.’” Black, 69 F.4th at 1185 (quoting Messner, 669 F.3d at

        824); accord Ruiz Torres, 835 F.3d at 1136 (“[A] flaw that may defeat

        predominance[] ... [includes] the existence of large numbers of class

        members who were never exposed to the challenged conduct to begin

        with.”). Persons who purchased a product “before the defendant

        possessed market power” are an example of persons “who could not have

        been injured” by anticompetitive conduct. Suchanek, 764 F.3d at 758

        (citing Messner, 669 F.3d at 824-25). Here, all proposed class members

        are purchasers that paid shipping fees that the conspirators set after



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        markets and customers were allocated, and were therefore “exposed” to

        the challenged conduct and could have been injured. Dkt. 298 at 2

        (limiting class membership to purchasers during class period).

              If plaintiffs rely on common evidence, and that evidence

        demonstrates that “most” class members did not suffer injury, that may

        support an “argument not for refusing to certify the class but for

        certifying it and then entering a judgment that would largely exonerate

        [the defendant].” Butler v. Sears, Roebuck & Co., 727 F.3d 796, 799 (7th

        Cir. 2013) (emphasis added).

              On the other hand, predominance will not be satisfied if “full-blown

        individual trials” are necessary to establish injury for thousands of class

        members. Rail Freight, 934 F.3d at 625; see also Asacol, 907 F.3d at 53-

        54 (holding that common issues would not predominate absent a

        “mechanism that can manageably remove uninjured persons from the

        class”).

              Here, Mr. Dee’s will rely on common evidence capable of proving

        classwide injury, and the district court erred in determining the

        persuasiveness of the evidence on the merits, which is a question for the

        jury. Tyson Foods, 577 U.S. at 459 (“Once a district court finds evidence



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        to be admissible, its persuasiveness is, in general, a matter for the jury.”);

        Amgen, 568 U.S. at 466; Olean, 31 F.4th at 666-67 (“a district court

        cannot decline certification merely because it considers plaintiffs’

        evidence relating to the common question to be unpersuasive and

        unlikely to succeed in carrying the plaintiffs’ burden of proof on that

        issue.”); Thorn, 445 F.3d at 319 (“The likelihood of the plaintiffs’ success

        on the merits, however, is not relevant to the issue of whether

        certification is proper.”); Asacol, 907 F.3d at 58; Bell v. PNC Bank, Nat.

        Ass’n, 800 F.3d 360, 377 (7th Cir. 2015); Titanium Dioxide, 284 F.R.D. at

        345.

               Five types of common evidence presented by Mr. Dee’s are capable,

        separately or collectively, of showing impact to all class members,

        including: (1) Dr. Grace’s analyses; (2) evidence of a widespread price war

        but for the conspiracy; (3) evidence of systematic price increases by the

        conspirators; (4) market-structure analysis; and (5) the presumption that

        a horizontal antitrust conspiracy harms all class members. JA2100; Dkt.

        298 at 5-17 (detailing evidence).

               First, Dr. Grace’s regression (Grace Supp., JA1709-1838) is

        common evidence, even if some class members might lose on the merits



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        based on the evidence. See Olean, 31 F.4th at 680 (certifying class even

        though jury might find regression unpersuasive where 28% of class

        members had limited transactions and therefore had no observable

        injury); Messner, 669 F.3d at 819, 822-23 (finding regression sufficient to

        satisfy predominance despite concession about uninjured class member,

        because the fact that some class members’ claims will fail on the merits

        is “generally irrelevant” to certification).

              Alternatively, Dr. Grace testified that impact and damages to all

        purchasers could be calculated by multiplying the median shipping-fee

        increase (28 cents) by volume.5 Cf. Olean, 31 F.4th at 673 n.19, 675

        (finding 28% of the class with no statistically significant impact could rely

        on damages estimate “developed by multiplying the [average] overcharge

        [percentage] estimate ... by the appropriate sales volume”).

              The lower court found this testimony unpersuasive, but its

        criticisms were misplaced. The court found that Dr. Grace’s testimony

        related only to market harm, not individual harm, and could not

        demonstrate harm to all class members. JA2100-2101. But Dr. Grace

        testified that she could “determine who is harmed and how much” using


        5 JA1976-1977, JA1979-1980, JA1709-1838.



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        the “median price change” times “volume,” JA1979, and based on that

        formula, every manufacturer with purchases suffered damages.

              The court criticized the use of “average” rather than “median” price

        increases, but Dr. Grace’s proposed formula involved median price

        increases. JA1979; cf. In re Zetia (Ezetimibe) Antitrust Litig., 7 F.4th 227,

        238 (4th Cir. 2021) (“we find no issue with the practice of proving injury

        by class-wide averages, which the district court correctly characterized

        as ‘common.’”).

              The court found Dr. Grace’s evidence of classwide injury was

        unpersuasive when weighed against Dr. Grace’s purported finding that

        “32% of the class was uninjured.” JA2111. But the court should not have

        weighed the persuasiveness of the evidence, Tyson Foods, 577 U.S. at

        459, and Dr. Grace did not find that any class members were uninjured,

        much less 32%. JA2014 (“So that volume impact dominates for those

        observations. So it’s not that those [purchasers] weren’t harmed[.]”).

              Second, IOS’s CEO admitted that, in the absence of the conspiracy,

        there would have been a widespread price war that would have lowered

        prices. JA1471-1472, JA1474. The district court inappropriately weighed

        the persuasiveness of this evidence. JA2106; Tyson Foods, 577 U.S. at



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        459. Every class member could have relied on this evidence to

        demonstrate injury, especially given that IOS’s CEO analogized the

        threatened price war to “the worst hurricane to hit North Carolina [i.e.,

        Inmar]6 in the last 200 years.” JA1507, JA1478; Tyson Foods, 577 U.S. at

        455 (explaining that evidence “relevant in proving a plaintiff’s individual

        claim[] ... cannot be deemed improper merely because the claim is

        brought on behalf of a class”).

              Third, IOS admitted that it systematically raised shipping fees

        because of the conspiracy, and Inmar admitted that it followed IOS’s lead

        on fees. JA1477, JA1474, JA1058-1059, JA1065-1066, JA1007, JA1683,

        JA 1666. The district court found such evidence unpersuasive when

        weighed against Dr. Grace’s purported finding that “only 68% of the class

        was injured.” JA2107. But Dr. Grace did not make such a finding,

        JA2014, and such weighing of the evidence on the merits is

        inappropriate. Tyson Foods, 577 U.S. at 459.

              Fourth, Dr. Grace found that the market conditions were consistent

        with those that have been found to support an inference of classwide




        6 Inmar is based in North Carolina and its manufacturer processor
        subsidiary is named Carolina Manufacturing Services.

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        impact, including high barriers to entry,7 commodity services,8 lack of

        substitutes,9 declining volume,10 and a highly concentrated market.11 See,

        e.g., In re Blood Reagents Antitrust Litig., No. 09-2081, 2015 WL 6123211,

        at *31 (E.D. Pa. Oct. 19, 2015) (“Many courts have accepted market-

        structure analyses in finding predominance with respect to antitrust

        impact.”). A reasonable jury could credit the market-structure evidence

        in combination with other evidence. Blood Reagents, 2015 WL 6123211,

        at *31.

              Finally, the “‘the prevailing [economic] view [is that] price-fixing

        affects all market participants, creating an inference of class-wide impact

        even when prices are individually negotiated.’” Olean, 31 F.4th at 671

        (quoting In re Urethane Antitrust Litig., 768 F.3d 1245, 1254 (10th Cir.

        2014)); see also Polyester Staple, 2007 WL 2111380, at *19 n.53 (“impact

        may be presumed in price-fixing or customer allocation conspiracy

        cases”). Courts have recognized the difficulty in observing impact where

        multiple variables affect price, and that a presumption of impact may be


        7 JA0808, JA0812-0816, JA0818-0821.
        8 JA1436-1437.
        9 JA0808, JA0821.
        10 JA1975.
        11 JA0809-0811.



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        appropriate in such situations. Polyester Staple, 2007 WL 2111380, at *20

        n.54 (“‘[T]he Third Circuit created the Bogosian short-cut to deal with the

        question of impact when there are multiple variables affecting the price

        paid by the plaintiffs.’”) (quoting In re Bulk (Extruded) Graphite Prods.

        Antitrust Litig., No. 02-cv-6030, 2006 WL 891362, at *11 (D.N.J. Apr. 4,

        2006)). The district court rejected the presumption as applying only when

        there is additional evidence of classwide impact. JA2109. But Mr. Dee’s

        has presented such additional evidence, discussed above.

              Even if there were many uninjured class members, the presence of

        uninjured class members does not defeat certification where there is a

        “winnowing mechanism” that is “truncated enough to ensure that the

        common issues predominate.” Rail Freight, 934 F.3d at 625 (citing

        Asacol, 907 F.3d at 51-54); accord Olean, 31 F.4th at 669; Ruiz Torres,

        835 F.3d at 1137 (“non-injury to a subset of class members does not

        necessarily defeat certification of the entire class, particularly as the

        district court is well situated to winnow out those non-injured members”);

        Nexium, 777 F.3d at 19-21 (“At the class certification stage, the court

        must be satisfied that, prior to judgment, it will be possible to establish




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        a[n administratively feasible] mechanism for distinguishing the injured

        from the uninjured class members.”).

              Here, the district court recognized that, with respect to the retailer

        class, potentially uninjured “class members have been identified[] … and

        could be winnowed from the class without individual issues subsuming

        class-wide ones.” JA2112. In analyzing the manufacturer class, the

        district court inconsistently and erroneously found that “Plaintiffs do not

        claim ... that they can establish a winnowing mechanism.” JA2094. In

        fact, however, Mr. Dee’s explained that “there is a common method for

        identifying [potentially] uninjured class members, who have already

        been identified” using common evidence. Dkt. 287 at 8 (citing Dkts. 277-

        28, 277-32). If the jury isn’t persuaded by common evidence of injury for

        the 2,533 potentially uninjured class members, then judgment will be

        entered against them at trial without resorting to individualized trials.

        Olean, 31 F.4th at 681; Butler, 727 F.3d at 799. This winnowing

        mechanism will not require individualized evidence, so common evidence

        will predominate. Rail Freight, 934 F.3d at 625.




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        IV.   If Necessary, the Court Should Revise the Class Definition.

              “Defining a class so as to avoid, on one hand, being over-inclusive

        and, on the other hand, the fail-safe problem is more of an art than a

        science. Either problem can and often should be solved by refining the

        class definition rather than by flatly denying class certification on that

        basis.” Messner, 669 F.3d at 825. “[T]he court may redefine the overbroad

        class to include only those members who can rely on the same body of

        common evidence to establish the common issue.” Olean, 31 F.4th at 669

        n.14. “The solution for cases [involving a fail-safe class definition that

        satisfies Rule 23] is for the district court either to work with counsel to

        eliminate the problem or for the district court to simply define the class

        itself.” White, 64 F.3d at 315.

              In EQT Production, this Court instructed the district court on

        remand to “address whether it is possible to define the classes without

        creating a fail-safe class” “as part of its class-definition analysis.” 764

        F.3d at 360 n.9; see also Cummins v. Ascellon Corp., No. 19-cv-2953, 2020

        WL 6544822, at *7 (D. Md. Nov. 6, 2020) (“Several courts have found that

        a ‘fail-safe class definition’ is not necessarily fatal in the Fed.R.Civ.P. 23

        context,” but “counsel for reformation where necessary”); Chado v. Nat’l



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        Auto Inspections, LLC, No. 17-cv-2945, 2019 WL 1981042, at *4 (D. Md.

        May 3, 2019) (“[T]he remedy to that problem is not, as Defendants

        suggest, decertification of the class and dismissal of the case without

        prejudice ... but instead to accept Plaintiffs’ suggestion to redefine the

        class.”). “[D]istrict courts have broad discretion to modify class

        definitions ....” Powers v. Hamilton Cnty. Pub. Def. Comm’n, 501 F.3d 592,

        619 (6th Cir. 2007).

              If this Court finds that none of the proposed class definitions is

        appropriate, this Court should resolve the issue by redefining the class.

        Messner, 669 F.3d at 825.

              Alternatively, this Court should instruct the district court, as it did

        in EQT Production, to determine “whether it is possible to define the

        classes” in a permissible manner. 764 F.3d at 360 n.9; see also White, 64

        F.4th at 315 (“district court [may] work with counsel to eliminate the

        problem or ... simply define the class itself”); Chado, 2019 WL 1981042,

        at *4-5 (redefining class).

                                      CONCLUSION

              Denying certification of a manufacturer class would cause the very

        harm decried by the Third Circuit in Byrd. Contrary to the letter, spirit,



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        and purpose of Rule 23, it would “severely undermine the named class

        representative’s ability to present typical claims (Fed.R.Civ.P. 23(a)(3))

        and adequately represent the interests of the class (Fed.R.Civ.P.

        23(a)(4)). 784 F.3d at 167.

              For the foregoing reasons, the district court’s denial of certification

        of the manufacturer class should be reversed, one of the proposed classes

        should be certified, and the case should be remanded for further

        proceedings.



        Date: December 27, 2023

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                                    CERTIFICATION

              I certify that this brief contains 12,658 words excluding those

        portions exempted from the word limit requirements, in compliance with

        the Federal Rules of Appellate Procedure.

              I further certify that the text of this brief complies with the typeface

        and type-style requirements of Federal Rule of Appellate Procedure 32(a)

        because it is set in Century School Book, size 14.



        Date: December 27, 2023


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